Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 1 of 11




                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-00452-WJM-SKC
   TIFFANY GRAYS,

                  Plaintiff,

   v.

   NAVIENT SOLUTIONS, LLC,
   EQUIFAX, INC.,
   EXPERIAN INFORMATION SOLUTIONS, INC.,
   TRANS UNION, LLC, and
   INNOVIS DATA SOLUTIONS, INC.,

                  Defendants.


         DEFENDANT NAVIENT SOLUTIONS, LLC’S REPLY IN SUPPORT OF ITS
                MOTION FOR SUMMARY JUDGMENT (ECF NO. 183)

          Defendant Navient Solutions, LLC (“NSL”), by and through undersigned counsel, submits

   this Reply in Support of its Motion for Summary Judgment (“NSL’s Motion” or “the Motion”)

   (ECF No. 183).

                                          INTRODUCTION

          This Court should grant summary judgment in NSL’s favor for several reasons. First,

   Plaintiff’s opposition is littered with conclusory allegations, which should not (and cannot) be

   taken into consideration. Second, Plaintiff did not oppose any of NSL’s undisputed facts, thus,

   they should be established as undisputed for purposes of summary judgment. Third, Plaintiff’s

   “Additional Disputed Facts”—the overwhelming majority of her opposition—add nothing to her

   argument that NSL violated various federal and state statutes. Indeed, Plaintiff’s own “facts”

   improvidently rely on statements taken from various evidentiary exhibits. This is clearly improper,

   and NSL addresses below each such “Additional Disputed Fact” in turn. Similarly, Plaintiff

   attempts to use her own self-serving statements to show that NSL improperly reported her student


                                                   1
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 2 of 11




   loan accounts. These are clearly not evidence of wrongdoing (or anything else). Fourth, Plaintiff

   fails to oppose NSL’s arguments regarding ten out of eleven of her claims, instead only addressing

   her Fair Credit Reporting Act (“FCRA”) claim. As such, NSL’s Motion should be granted as to

   those claims as a matter of law. And Fifth, Plaintiff still has not shown that NSL’s investigation of

   her dispute(s) was unreasonable, as she was required to do to establish the viability of her FCRA

   claim. As argued in further detail below, this Court should now grant summary judgment in NSL’s

   favor because Plaintiff’s opposition is insufficient to demonstrate the existence of any disputed

   material facts.

                                             ARGUMENT

   I.     NSL’S REPLY CONCERNING UNDISPUTED FACTS.

          The intent and purpose of Colo.R.Civ.P.56 is that, where the facts are undisputed or so

   certain as not to be subject to dispute, a court is in position to determine the issue strictly as a

   matter of law. Morlan v. Durland Trust Co., 127 Colo. 5, 252 P.2d 98 (1952); Central Bank &

   Trust Co. v. Robinson, 137 Colo. 409, 326 P.2d 82 (1958); Rogerson v. Rudd, 140 Colo. 548, 345

   P.2d 1083 (1959). The federal counterpart provides that,“[i]f a party fails to properly support an

   assertion of fact or fails to properly address another party’s assertion of fact as required by Rule

   56(c), the court may…(2) consider the fact undisputed for purposes of the motion or (3) grant

   summary judgment if the motion and supporting materials – including facts considered undisputed

   – show that the movant is entitled to it.” Fed.R.Civ.Pro.56(e).

          Plaintiff takes issue with the fact that NSL’s “Statement of Undisputed Facts” was not titled

   “Movant’s Statement of Material Facts.” See Plaintiff’s Response in Opposition of Defendant’s




                                                    2
                                                                                             DN 6851720.2
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 3 of 11




   Motion for Summary Judgment [Dkt. 199], pg. 2 (hereinafter “Opposition”).1 She claims that she

   is, therefore “deprived” of the ability to respond. Not true.

            Although NSL labeled its facts in support of its motion as NSL’s “undisputed facts,” it

   should not absolve Plaintiff from providing a response, particularly since she clearly understands

   the nature of an “undisputed fact.” While NSL recognizes its error in switching out “material” for

   “undisputed,” it still has complied with the practice standard’s purpose by stating “in simple,

   declarative sentences,” in “separately numbered and paragraphed [statements], each material fact

   the movant believes supports movant’s claim that movant is entitled to judgment as a matter of

   law ... accompanied by a specific reference to supporting evidence in the record.” (J. Martinez

   Practice Standards III.F.3.) It is evident that Plaintiff is hiding behind the guise of a simple heading

   and chose not to separately address any of NSL’s fifty-two (52) undisputed facts. In truth, she

   cannot. This Court has consistently looked to the substance of a party’s argument, rather than the

   header introducing it, when evaluating its efficacy. Ramos v. Banner Health, No. 15-CV-2556-

   WJM-NRN, 2019 WL 1777524, at *15 (D. Colo. Apr. 23, 2019) (finding that “[w]hile Plaintiffs’

   header in their response to the Motion suggests that their claims against Slocum are not time-barred

   prior to November 9, 2010, the text of their argument suggests otherwise.”)

            Since Plaintiff has neglected to oppose NSL’s Statement of Undisputed Facts, this Court

   should consider all facts as undisputed and grant summary judgment in NSL’s favor for this reason

   alone.

   II.      NSL’S RESPONSE CONCERNING ADDITIONAL DISPUTED FACTS.




   1
     Judge Martinez’s Practice Standards Outline the requirements for summary judgment briefing, including a section
   titled “Movant’s Statement of Material Facts.”

                                                           3
                                                                                                         DN 6851720.2
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 4 of 11




             The overwhelming majority of Plaintiff’s “Additional Disputed Facts” are legal

   conclusions, with no factual bases or evidentiary support. Such conclusory allegations are

   insufficient to save Plaintiff from summary judgment. Adler v. Wal-Mart Stores, Inc., 144 F.3d

   664, 671–72 (10th Cir. 1998) (holding that “conclusory allegations in Plaintiff's complaint,

   although verified, are of as little help in carrying her burden under Rule 56(e) as are the conclusory

   arguments in her brief.”). Further, [t]he mere existence of a scintilla of evidence in support of the

   plaintiff's position will be insufficient; there must be evidence on which the jury could reasonably

   find for the plaintiff.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). Although NSL

   believes that no response to Plaintiff’s “Additional Disputed Facts” is necessary, considering the

   lack of actual facts contained therein, it will attempt to admit or deny in accordance with this

   Court’s Practice Standards.


             PLAINTIFF’S STATEMENT OF                                        NSL’S RESPONSE2
            ADDITIONAL DISPUTED FACTS
       Defendant multiple times consented to this               In NSL’s Answer to Plaintiff’s Second
       Court’s jurisdiction, thus barring defenses of           Amended Complaint [Dkt. 61], it did not
       statute of limitations contesting the jurisdiction       contest this Court’s jurisdiction. See NSL’s
       of the Court, Defendant’s plight to reinvigorate         Answer to Plaintiff’s Second Amended
       defenses in Summary Judgment is futile as this           Complaint, subsection C.
       defense has been relinquished. See (ECF No.
       61 at p.2 #C). See also (ECF No. 51 at p. 2              To the extent that Plaintiff is referring to
       #2). 3                                                   NSL’s argument regarding Plaintiff’s claims
                                                                and how they are barred by the statute of
                                                                limitations; NSL admits that Plaintiff’s claims
                                                                are time-barred. Specifically, Plaintiff’s claims
                                                                for Conversion (Claim Three), Breach of

   2
       Although this Court does not require a column format when responding to Plaintiff’s Statement

   of Additional Disputed Facts, NSL included it for ease of reference.
   3
       It was unclear from Plaintiff’s opposition whether she contends this assertion is a disputed fact;

   however, since Plaintiff inserted it under the Statement of Additional Disputed Facts header, NSL

   addresses it accordingly.

                                                            4
                                                                                                       DN 6851720.2
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 5 of 11




                                                            Contract (Claim Six), Declaratory Judgment
                                                            (Claim Seven), CCPA (Claim Eight), UCCC
                                                            (Claim Nine), UCC (Claim Ten), Breach of
                                                            Fiduciary Duty (Claim Eleven), Negligence
                                                            (Claim Twelve), are time barred as explained
                                                            in detail in NSL’s Motion for Summary
                                                            Judgment [Dkt. 183].
    1.      While "Department of Education                  NSL admits that the Department of
    guidance," (ECF No. 183 at p. 10 #A), advises           Education’s guidance for servicers of federal
    student loan servicers to not report delinquent         student loans is not to report accounts
    payments of borrowers on consumer credit                delinquent until they are at least 90 days past-
    reports until the consumer is 90+ days late, this       due. See NSL’s Motion for Summary
    guidance does not require the reporting of              Judgment [Dkt. 183], page 11. Anything not
    inaccurate payment history to CRAs nor to               expressly admitted is denied. The remainder is
    report delinquent payments as ok. (ECF No.              denied as it is unintelligible and NSL cannot
    183 at p.ll #1).                                        provide a proper response without guessing as
                                                            to its intended meaning.
    2.      A reporting of ok for the Plaintiff’s           NSL denies that the credit reporting of “ok” on
    payment history with NSL is stating the                 Plaintiff’s credit report indicated that “the
    payments were received on time, are not due,            payments were received on time, [were] not
    and/or is current.                                      due, and/or [were current].”
    3.      Department of Education guidance                Deny. The Department of Education’s
    stating to "not report accounts delinquent,"            guidance for servicers of federal student loans
    (ECF No. 183 at p.ll #1), is a request to forgo         is to not report accounts delinquent until they
    reporting anything, not reporting known false           are at least 90 days past-due. See NSL’s
    information that the payment is "ok," (Id. at p.        Motion for Summary Judgment [Dkt. 183],
    11 #1), when the furnisher knows the payment            page 11.
    is delinquent; conduct with which NSL is very
    familiar.
    4.      The reporting of an account that has            Deny. There is a potentially actionable
    delinquent payments as ok is a violation of the         violation of the FCRA if (amongst other
    duties imposed on the furnisher under the               elements) “the party who furnished the
    FCRA to report accurate information on                  information failed to investigate or rectify the
    Plaintiff’s consumer credit report.                     disputed charge.” 15 U.S.C. §1681s-2(b).
    5.      Navient is f/k/a Sallie Mae, Inc. (ECF          Admit to the extent that “Navient” refers to
    No. 61 at p. 3 #4)                                      Navient Solutions, LLC.
    6.      "NSL is a "furnisher"[of information            Admit, for the purposes of this litigation only,
    about the Plaintiffs loans to former Defendant          that NSL is a furnisher under the FCRA.
    CRAs] under the Fair Credit Reporting Act
    ["FCRA]. (ECF No. 51 at p. 4 #e).
    7.      "As a furnisher, Navient held duties            Admit, for purposes of this litigation only.
    under 15 U.S.C. § 1681s-2." (ECF No. 59 at
    ¶41).
    8.      "As a Furnisher, Navient failed to              Deny. This is the basis of NSL’s Motion for
    "establish and implement reasonable written             Summary Judgment. [Dkt. 183.] Further,
    policies and procedures regarding the accuracy          Plaintiff cites no evidence in support of this

                                                        5
                                                                                                   DN 6851720.2
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 6 of 11




    and integrity of the information relating to             conclusory statement. She merely cites to an
    consumers[, the Plaintiff], that it furnishes to a       allegation in her Second Amended Complaint,
    consumer reporting agency;" 12 C.F.R. §                  which is insufficient under Adler, 144 F.3d at
    1022.42(a)." (ECF No. 59 at ¶44).                        671–72.
    9.      “As a student loan servicer, Navient             Admit, for the purposes of this litigation only,
    routinely furnishes information about the                that NSL is a furnisher under the FCRA. Any
    Plaintiff’s federal student loan performance, as         allegation not explicitly admitted is denied.
    a borrower, on loans to one or more consumer
    reporting agencies for inclusion in a consumer
    report and is therefore a “furnisher” under
    Regulation V. 12 C.F.R. § 1022.41 (c).” (ECF
    No. 59 at ¶40).
    10.     "Plaintiff is a consumer as defined in           Admit, for the purposes of this litigation only,
    the FCRA [15 U.S.C. § 1681a(c)-(d)]." See                that Plaintiff is a consumer as defined under 15
    (Id. 51 at p.6 #8); See also (ld. 51 at p.6 #12);        U.S.C. §1681a(c).
    See also (ld. 51 at p.7 #14);
    11.     "Dismissed Defendants are Consumer               Admit, for the purposes of this litigation only,
    Reporting Agencies as defined in the FCRA."              that the dismissed defendants are consumer
    See (Id. 51 at p.6 #7); See also (ld. 51 at p.6          reporting agencies as defined under 15 U.S.C.
    #9); See also (Id. 51 at p.6 #11); See also (ld.         §1681a(p).
    51 at p. 7 #13).
    12.     "NSL has and does service loans                  Denied that NSL currently services any of
    obtained by Plaintiff," See (ECF No. 61 at p.3           Plaintiff’s student loans.
    #3); See also (ECF No. 51 at p.5 #1),",since
    2001." See (ld. 61 at p.3 #12); See also (ld. 51
    at p.6 #2).
    13.     "NSL reported student loans obtained             Admit that NSL reported Plaintiff’s student
    by Plaintiff [and serviced by NSL] as                    loans as delinquent for the months of April,
    delinquent in 2014." See (ld. 61 at p.3 #14);            May, October, and November of 2014. See
    See also (/d. 51 at p.6 #23); See also (ECF              NSL’s Motion for Summary Judgment [Dkt.
    No. 47 at p.6).                                          183]; see also Plaintiff’s Second Amended
                                                             Complaint [Dkt. 59], ¶14.
    14.     The aforementioned delinquency was               Admit that Plaintiff’s student loans were
    reported to "Experian that Plaintiff was                 reported late 90 days in April 2014, 150 days
    "90,":150," [sic] "90," and "120," days late             in May 2014, 90 days in October 2014, and 120
    (collectively "Late Payments") in the months             days in November 2014. See NSL’s Motion for
    of April May, October, and November 2014,                Summary Judgment [Dkt. 183], pgs. 10-13.
    respectively," See (ld. 51 at p.6 #4); See also
    (Id. 51 at p.6 #10), by "NSL." (Id.); See also
    (ld. 51 at p.6 #4).
    15.     Plaintiff disputed the Late Payments             Admit that NSL received ACDVs from
    with each CRA. See (Id. 51 at p.6 #5); See               Equifax, Experian, and Innovis. See NSL’s
    also (Id. 51 at p.7 #15); See Also (ECF No.              Motion for Summary Judgment [Dkt. 183],
    183 at ~~43-51).                                         Statement of Undisputed Facts, pgs. 7-8, ¶¶43-
                                                             48.



                                                         6
                                                                                                   DN 6851720.2
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 7 of 11




    16.     Said disputes triggered NSL's Admit that NSL has fully complied with its
    compliance for furnishers. (ECF No. 59 at obligations under the FCRA. See generally,
    ¶42).                                            NSL’s Motion for Summary Judgment [Dkt.
                                                     183].
    17.     Given the fact that NSL received over Deny. NSL conducted a reasonable
    80 disputes to remove the Late Payments and investigation of Plaintiff’s disputes. This is the
    determined on each and every dispute was basis of NSL’s Motion for Summary
    "frivolous," (ECF No. 104 at pp. 3-6, 9,) Judgment. [Dkt. 183.] Further, Plaintiff’s
    substantiates the willful negligence of NSL citation to Dkt. 104 is inapplicable as that
    under 15 U.S.C. §§ 1681n-o as this failure after document does not say what she purports it to
    the "voluminous" (ECF No. 183 at ¶45) say. Further, Plaintiff cites to one word in
    disputes, substantiates NSL did not conduct a NSL’s Motion for Summary Judgment [Dkt.
    reasonable investigation and "failed to modify, 183], which is not evidence. Further, Plaintiff
    delete, or permanently block the reporting of cites to allegations in her Second Amended
    the disputed the Late Payments and the Complaint, which is not evidence and
    erroneous account" (ECF No. 59 at ¶46) in insufficient under Adler, 144 F.3d at 671–72.
    "violations of 15 U .S.C. § 1681 s-2(b) and
    1681i." (ECF No. 59 at ¶45).
    18.     Defendant factually removed the Deny. The citation does not say what Plaintiff
    November 2014 Late Payment on some [sic] purports it to say.
    Plaintiff’s accounts, (ECF No. 104 at pp. 13-
    14), even though the letter said the payment
    would be removed from all accounts. ld.
    19.     The unlawful reporting of the Deny. There is a violation of the FCRA if
    erroneous Late Payments constitutes a (amongst other elements) “the party who
    violations of the Fair Credit Reporting Act; furnished the information failed to investigate
    (Expert Reports emailed to the Court and or rectify the disputed charge.” 15 U.S.C.
    Defendant pursuant to the Settlement §1681s-2(b). Here, NSL has accurately
    Conference);                                     reported    and     reasonably   investigated
                                                     Plaintiff’s disputes. See generally, NSL’s
                                                     Motion for Summary Judgment, [Dkt. 183],
                                                     and corresponding exhibits.
    20.     As a result of Defendant's will full Deny. Plaintiff’s Motion to Compel is not
    negligence Plaintiff has and continues to suffer evidence. Further, Dkt. 140-1, states that
    from inter alia "depression." (ECF No. 165 at Plaintiff suffers from Post Traumatic Stress
    p.3) see also (ECF No. 140-1), loss of Disorder and Major Depressive Disorder that
    creditworthiness, (Expert Reports emailed to are triggered in the presence of uniformed law
    the Court and Defendant pursuant to the enforcement personnel. Plaintiff’s own
    Settlement Conference), and enjoyment of purported expert, Ms. Terrill, does not
    life. (Expert Reports emailed to the Court conclude that NSL’s alleged “willful
    and Defendant pursuant to the Settlement negligence” caused any of these symptoms.
    Conference);
    21.     Defendant has failed to produce any Admit.
    records which show the removal of the Late
    Payments after this instant case was at issue.
    (Declaration of Plaintiff).


                                                  7
                                                                                          DN 6851720.2
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 8 of 11




    22.     Plaintiff’s complaint to the student loan       Admit that the Office of Consumer Advocate
    ombudsperson         and    the       subsequent        is a department within NSL. Further, NSL
    investigation found the "150 day" (ECF No.              reports delinquencies at the end of the month.
    103-4 p. 3) late payment to be in err and               As of April 30, 2014, Plaintiff was 119 days
    requested NSL remove the payment, which                 delinquent, based on the January 1, 2014
    NSL did; further establishing NSL's FCRA                deadline. As of May 31, 2014, Plaintiff was
    violations.                                             150 days delinquent. Although 150 days was
                                                            correct, NSL sent a courtesy update to the
                                                            credit reporting agencies to replace the 150
                                                            days past due remark to 120 days. See NSL’s
                                                            Motion for Summary Judgment, [Dkt. 183], p.
                                                            13, fn. 2; see also Letter from NSL to Plaintiff
                                                            dated October 9, 2020, [Dkt. 103-4], p. 2.
                                                            Anything not specifically admitted is denied.
    23.     The removal of the Late Payments                Plaintiff’s self-serving statement is not
    caused an increase in Plaintiffs credit                 evidence. Therefore, no response is necessary.
    worthiness and allowed Plaintiff to secure              Additionally, even if a response was required,
    credit from over 5 lenders, there is no other           NSL would not be in a position to know
    explanation for the significant increase.               whether Plaintiff’s “credit worthiness”
    (Declaration of Plaintiff).                             improved as she has produced no evidence of
                                                            this. Hence, her declaration is void of any
                                                            evidentiary support.
    24.     Plaintiff’s loans at all times relevant         Plaintiff’s self-serving statement is not
    were in forbearance or deferment and thus               evidence. Therefore, no response is necessary.
    Plaintiff was not required to make any                  Further responding, NSL denies. See NSL’s
    payments to NSL. (Declaration of Plaintiff).            Motion for Summary Judgment [Dkt. 183],
                                                            Statement of Undisputed Facts, ¶¶ 21-42.
    25.     As a student loan servicer, NSL is a            Plaintiff’s self-serving statement is not
    contractor of the U.S. Government, thus is              evidence. Therefore, no response is necessary.
    required to abide by the terms and conditions           Further responding, NSL denies. Additionally,
    of the government's contracts. Therefore, NSL           this was addressed in NSL’s Motion for
    would be considered responsible for the breach          Summary Judgment [Dkt. 183], pgs. 23-24.
    of the terms of the contract by failing to afford
    Plaintiff a six month grace period as required
    by the MPN. (Declaration of Plaintiff).
    26.     The conduct of Defendant constitutes Plaintiff’s self-serving statement is not
    violations of multiple Colorado Consumer evidence. Therefore, no response is necessary.
    statues. (Declaration of Plaintiff).              Further responding, NSL denies. Additionally,
                                                      this was addressed in NSL’s Motion for
                                                      Summary Judgment [Dkt. 183], pgs. 25-27.

   III. THIS COURT SHOULD FIND SUMMARY JUDGMENT IN FAVOR OF NSL
   BECAUSE PLAINTIFF HAS NOT PROVIDED ANY EVIDENCE TO SUPPORT HER
   CLAIMS.



                                                        8
                                                                                                  DN 6851720.2
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 9 of 11




          Plaintiff did not contest or submit evidence in opposition to NSL’s Motion for Summary

   Judgment regarding the overwhelming majority of her claims, including the following: Conversion

   (Claim Number Three), Civil Theft (Claim Number Four), Unjust Enrichment (Claim Number

   Five), Breach of Contract (Claim Number Six), Declaratory Judgment (Claim Number Seven),

   Violation of the CCPA (Claim Number Eight), Violation of the UCCC (Claim Number Nine),

   Violation of the UCC (Claim Number Ten), Breach of Fiduciary Duty (Claim Number Eleven),

   and Negligence (Claim Number Twelve). Plaintiff’s non-opposition should be construed as an

   admission that NSL’s Motion for Summary Judgment is meritorious and consent to granting the

   Motion at least as to these counts. Plaintiff had ample opportunity to address each and every claim,

   and attempt to provide support for her claims; however, she neglected to do so. Therefore, this

   Court should issue a ruling finding that Plaintiff’s lack of opposition shows that Plaintiff concedes

   NSL’s arguments and grant summary judgment on the above ten (10) claims in NSL’s favor.

          Additionally, Plaintiff’s supposed argument that NSL violated the FCRA is without merit.

   Even if allowed to use her fatally deficient “Additional Disputed Facts” as evidence in support of

   her contention that NSL violated the FCRA, the claim nevertheless fails because Plaintiff still does

   not address how NSL’s investigation was unreasonable. As provided in NSL’s Motion for

   Summary Judgment, in order to establish a claim under 15 U.S.C. § 1681s–2(b), Plaintiff must

   prove: “(1) that [s]he notified a credit reporting agency of the dispute under § 1681i, (2) that the

   credit reporting agency notified the party who furnished the information under § 1681i(a)(2), and

   (3) that the party who furnished the information failed to investigate or rectify the disputed

   charge . . . .” Vassalotti v. Wells Fargo Bank, N.A., 815 F. Supp. 2d 856, 863–64 (E.D. Pa. 2011)

   (quoting Taggart v. Norwest Mortg., Inc., No. 09–1281, 2010 WL 114946, at *27 (E.D.Pa. Jan.

   11, 2010)) (alterations in original) (emphasis added). “[T]he investigation an information furnisher


                                                    9
                                                                                             DN 6851720.2
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 10 of 11




    undertakes must be a reasonable one.” Boggio v. USAA Fed. Sav. Bank, 696 F.3d 611, 616 (6th

    Cir. 2012) (collecting cases) (emphasis added). “[H]ow thorough an investigation must be to be

    ‘reasonable’ turns on what relevant information was provided to a furnisher by the CRA giving

    notice of a dispute.” Maiteki v. Marten Transp. Ltd., 828 F.3d 1272, 1275 (10th Cir. 2016)

    (quoting Boggio, 696 F.3d at 617). Plaintiff does little to show or provide evidence that NSL’s

    investigation was unreasonable. Simply because Plaintiff “believed” her loans were in deferment

    and/or forbearance does not mean they actually were. In fact, NSL repeatedly sent letters to

    Plaintiff and attempted to contact Plaintiff to inform her that her loans were becoming due, and

    then subsequently were past due. See NSL’s Motion for Summary Judgment [Dkt. 183], Statement

    of Undisputed Facts ¶¶ 21-40. Plaintiff has not provided any evidence that NSL failed to

    reasonably investigate her credit disputes. As such, this Court should grant summary judgment in

    favor of NSL.

                                             CONCLUSION

           NSL requests that the Court enter summary judgment in its favor and against Plaintiff on

    all of Plaintiff’s claims against NSL.

           Dated: June 21, 2022.

                                                       SPENCER FANE LLP

                                                       By: /s/ Dennis N. Lueck, Jr.
                                                          Dennis N. Lueck, Jr.
                                                          1700 Lincoln Street, Suite 2000
                                                          Denver, CO 80203
                                                          Telephone: 303.839.3733
                                                          Facsimile: 303.839.3838
                                                          Email: dlueck@spencerfane.com

                                                            Attorneys for Defendant,
                                                            Navient Solutions, LLC



                                                  10
                                                                                          DN 6851720.2
Case 1:20-cv-00452-WJM-SKC Document 204 Filed 06/21/22 USDC Colorado Page 11 of 11




                                        CERTIFICATE OF SERVICE

            I hereby certify that on this 21st day of June, 2022, I electronically filed the foregoing with

    the Clerk of the Court using the CM/ECF system which will send notification of such filing to all

    parties of record in this matter.

     Tiffany Grays, pro se
     legalgrays@gmail.com



                                                             /s/ Adam Miller
                                                           for Spencer Fane LLP




                                                      11
                                                                                                DN 6851720.2
